        Case 1:24-cv-00067-BAH Document 15-1 Filed 06/18/24 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


BATTLE BORN INVESTMENTS
COMPANY, LLC,

               Plaintiff,

       v.                                                Civil Action No. 24-0067 (BAH)

UNITED STATES DEPARTMENT OF
JUSTICE,

               Defendant.


 DEFENDANT’S STATEMENT OF MATERIAL FACTS NOT IN GENUINE DISPUTE
         IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

       The United States Department of Justice (“Defendant” or “Department”), parent agency of

the Executive Office for United States Attorneys (“EOUSA”), through undersigned counsel,

respectfully submits this statement of material facts in support of its motion for summary judgment

on Battle Born Investments Company LLC’s (“Plaintiff’s”) Freedom of Information Act (“FOIA”),

5 U.S.C. § 552, claim.

       1.      On October 19, 2023, Plaintiff submitted the following FOIA request:

       On behalf of Battle Born Investments Company, LLC, I hereby request under the
       Freedom of Information Act copies of records and documents showing (1) the name
       of the person who signed a Consent and Agreement to Forfeiture with the U.S.
       Attorney’s Office, Northern District of California, on or about November 3, 2020,
       concerning a cryptocurrency wallet referred to as 1HQ3 in United States v.
       Approximately 69,370 Bitcoin, et al., Case No. 3:20-cv-7811-RS (N.D. Cal.); (2)
       the name of any person believed to have owned, possessed, or controlled that
       wallet; and (3) the name of the person referred to as “Individual X” in that case.

FOIA Req., ECF No. 15-3; see also Compl. ¶ 13, ECF No. 1.

       2.      EOUSA assigned request tracking number EOUSA-2024-000128 to the request.
        Case 1:24-cv-00067-BAH Document 15-1 Filed 06/18/24 Page 2 of 3




       3.      At issue is one document: the November 3, 2020, Consent and Agreement to

Forfeiture with the U.S. Attorney’s Office, Northern District of California, referenced in the FOIA

request. See Joint Status Report (Apr. 15, 2024), ECF No. 12 (“The parties have conferred and

agree that at issue is one document: the November 3, 2020, Consent and Agreement to

Forfeiture[.]”); Pl.’s Opp’n Def.’s Mot. Extension Time (June 4, 2024); ECF No. 14 (“This is a

FOIA action in which the sole question is whether the Government will disclose a single

document[.]” (emphasis in original)).

       4.      On March 20, 2024, EOUSA issued a response denying the request in full, citing

Exemptions 3, 6, 7(A), and 7(C). See ECF No. 15-5.

       5.      Defendant is no longer withholding the document in full and is no longer relying

on Exemptions 3 and 7(A).

       6.      Defendant is withholding parts of the document under Exemptions 6, 7(C), and

7(F). See ECF No. 15-6.

       7.      Defendant issued a final response on June 6, 2024. See ECF No. 15-6.

       8.      Defendant applied its withholdings correctly.



                                         *      *       *




                                                2
       Case 1:24-cv-00067-BAH Document 15-1 Filed 06/18/24 Page 3 of 3




Date: June 18, 2024                   Respectfully submitted,
      Washington, DC
                                      MATTHEW M. GRAVES, D.C. Bar # 481052
                                      United States Attorney

                                      BRIAN P. HUDAK
                                      Chief, Civil Division

                                      By:        /s/ Sam Escher
                                            SAM ESCHER, D.C. Bar # 1655538
                                            Assistant United States Attorney
                                            601 D Street, N.W.
                                            Washington, D.C. 20530
                                            (202) 252-2531
                                            Sam.Escher@usdoj.gov

                                      Attorneys for the United States of America




                                      3
